       Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 1 of 25




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS

JOHN WALKER,                                         )
                                                     )
               Plaintiff,                            )
                                                     )
vs.                                                  ) Case No. ___________________
                                                     )
NEWMAN UNIVERSITY, INC.,                             )
                                                     )
and                                                  )
                                                     )
KIMBERLY MCDOWELL-LONG,                              )
an Individual,                                       )
                                                     )
               Defendants.                           )


                            COMPLAINT WITH JURY DEMAND

       COMES NOW Plaintiff John Walker, and for his causes of action against Defendant

Newman University and Kimberly McDowell-Long, states as follows:

                                     Jurisdiction and Venue

       1.      Plaintiff alleges violations of Title IX of the Education Amendments of 1972

(“Title IX”), of Title VII of the Civil Rights Act of 1964 as amended (“Title VII”), of the

Americans with Disabilities Act (“ADA”), as amended by the ADA Amendments Act of 2008

(“ADAAA”), and Kansas common law.

       2.      This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

§§ 1331, 1343 and 1367.

       3.      The Court has pendent jurisdiction over Plaintiff’s state law claims because the

claims arise and involve the same nexus of law and fact.

       4.      Venue is proper with this Court pursuant to the provisions of 28 U.S.C. §1391(b)

as the acts alleged in this Complaint were committed within this Judicial District.
       Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 2 of 25




                                            Parties

       5.      Plaintiff John Walker (hereinafter “Walker” or “Plaintiff”), was employed at

Newman University as the Counseling Program Director and Assistant Professor of Counseling.

       6.      Defendant Newman University, Inc. (hereinafter “Newman”), is a private college

located at 3100 McCormick St., Wichita, Kansas, and is incorporated in the State of Kansas.

       7.      Defendant Kimberly McDowell-Long, (hereinafter “Defendant Long” is the

Provost & Vice President for Academic Affairs at Newman University.

       8.      Defendant Newman is an educational institution and is a recipient of federal

financial assistance.

       9.      Defendant Newman is an employer within the meaning of Title VII, the ADA and

the ADAAA.

                                  Administrative Exhaustion

       10.     On October 31, 2018, Plaintiff filed a timely Charge of Discrimination with the

Equal Employment Opportunity Commission.

       11.     Plaintiff intends to request a notice of right to sue from the EEOC on Plaintiff’s

Charge of Discrimination when the government shut-down ends and the EEOC resumes normal

operations.

       12.     Plaintiff fully intends to meet all conditions precedent necessary for his claims

under Title VII and the ADA/ADAAA.

                                      Background Facts

       13.      Plaintiff began his employment with Newman in August 2008 as an Adjunct

Professor of Counseling.

       14.     In May, 2014, Plaintiff was promoted and appointed to a tenure-track position as




                                               2
       Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 3 of 25




Counseling Program Director and Assistant Professor of Counseling. The 2018‐2019 academic

year was to be his final year required to achieve tenure.

       15.     Plaintiff’s duties and responsibilities encompassed both administrative and faculty

job duties, including but not limited to program administration, program development,

administration of program budgeting/projections, hiring of faculty, program accreditation,

course/program development and assessment, administration of all in-field (practicum) learning

environments and community outreach, program recruitment, all student advising, and 4/4 course

instruction.

       16.     Beginning in the fall of 2014, Plaintiff provided Newman with volunteer services

including but not limited to Faculty Senate Salary & Benefits Committee Chair, Title IX

Compliance taskforce member, Title IX Confidential Resource for students and employees and

Title IX Investigator.     He also served as the only licensed clinical behavioral health

representative of the Behavioral/Threat Assessment & Intervention Team member. He

maintained these volunteer roles throughout the duration of his employment at Newman

University.

       17.     Plaintiff also provided volunteer services to the professional community in

Kansas and in the surrounding local communities.

       18.     Plaintiff spent three years (2014-2017) developing and authoring a new bachelor

of social work program (BSW). In February 2017, Plaintiff formally proposed the bachelor of

social work (BSW) program and “counseling-to-bachelor-social-work program conversion plan”

for institutional approval. In May, 2017, the proposed BSW program, plan for program

conversion, and the proposed programing budget/implementation plan achieved full institutional

approval (Faculty, Administration, and the Board of Trustees (BOT)). Following the May, 2017




                                                 3
       Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 4 of 25




BOT approval, Plaintiff was to receive a promotion and title change to BSW Program Director, a

salary increase, and was to hire a second full-time faculty member beginning June 2017.

       19.     During his employment at Newman, Plaintiff received consecutive positive

recommendations for his retention as a faculty member and Program Director and received

praise for his commitment to program development, teaching, advising and service.

       20.     Plaintiff received an institutional letter of recommendation, recommending his

retention for the 2017-2018 academic year. Plaintiff received and signed his 12-month faculty

contract for the 2017-2018 academic year (May, 2017- May, 2018) on or about March 7, 2017.

       21.     Plaintiff received his institutional letter of recommendation for retention for the

2018-2019 academic year (dated June 19, 2017).

       22.     At all times relevant, Plaintiff met or exceeded the expectations for his job.

       23.     At all times relevant, Newman has had an Equal Employment Opportunity/Non-

Discrimination Policy which extends to employment practices, conditions of employment,

personnel actions and all other educational programs or activities of the University. Newman’s

policy also prohibits retaliation against any person who brings an accusation of discrimination or

who assists with the investigation or resolution of discrimination.

       24.     At all times relevant, Newman has had a Sex Discrimination, Sexual Harassment

and Sexual Misconduct in Education/Employment Policy which prohibits retaliation for filing,

testifying, assisting or participating in any investigation or proceeding involving allegations of

sex discrimination, sexual harassment or sexual misconduct.

       25.     At all times relevant, Newman has had a Whistleblower Protection Policy which

prohibits retaliation against any employee who in good faith reports an ethics violation, a

suspected violation of the law, such as a complaint of discrimination, suspected fraud, illegal




                                                 4
       Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 5 of 25




activity or suspected violation of any regulation governing the operations of Newman University.

       26.     Newman is responsible for enforcing these policies and ensuring that its

employees are adequately trained to follow these policies.

       27.     Newman’s Title IX Coordinator was a staff member, Case Bell.

       28.     Plaintiff was one of several Title IX investigators at Newman.

       29.     Beginning June 2017, Plaintiff’s direct supervisor was Fr. Joseph Gile, Dean of

Graduate Studies and Adult and Continuing Education.

       30.     Additional Newman officials involved in the conduct giving rise to this lawsuit

are believed to include the following individuals: Noreen Carrocci, President of Newman

University; Victor Trilli, Athletic Director & Vice President for Student Affairs; Jennifer Gantz,

Vice President for Finance & Administration; and Icer Vaughn, Chief Information Officer.

       31.     Newman’s employees were operating within the scope of their employment at all

times relevant with regard to the events described herein.

       32.     On August 4, 2017, Plaintiff became aware that the employee Fr. Gile and his

selection committee had chosen for the Master of Social Work program position had

misrepresented her qualifications and experience which was a possible violation of K.S.A. 65-

6303 and K.A.R. 102-2-7. Plaintiff, who is a Licensed Specialist Clinical Social Worker in the

State of Kansas, and is required by law to report possible violations to his employer and to the

Kansas Behavioral Sciences Regulatory Board, informed Fr. Gile about what he had discovered.

Fr. Gile became furious, refuted Plaintiff’s report, and required Plaintiff to “prove it” to him.

Plaintiff then provided the available Council on Social Work Education (CSWE) accreditation

requirements and State of Kansas BSRB statutes and regulations to Fr. Gile, at which point Fr.

Gile apologized.




                                                5
       Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 6 of 25




       33.     On August 29, 2017, Plaintiff was assigned to investigate a Title IX complaint

filed with the institution that alleged a supervisory employee of Newman had engaged in

inappropriate sexual relationships with student employees and that she had made unwelcomed

sexual advances toward her subordinate employee.

       34.     Plaintiff concluded the investigation on August 31, 2017, and Newman

appropriately instituted the recommended corrective action with respect to this complaint.

       35.     On October 4, 2017, a Newman employee filed a Title IX discrimination

complaint with the institution (“Clark Complaint”). The Title IX complaint alleged that an

officer of the corporation, Vic Trilli (Vice President of Student Affairs and Athletic Director),

and several Newman University employees (former and current coaches of the men’s basketball

team) had engaged in sex discrimination, harassment and retaliation against the complainant. The

allegations also included threats made against the complainant by a student employee (and

former men’s basketball athlete). The allegations included discriminatory actions beginning in

the fall of 2015 and continued uninterrupted at the time the complaint was filed in October 2017.

       36.     On October 9, 2017, Plaintiff was assigned to investigate the Clark Complaint.

Lisa DeLoach was also assigned as a secondary investigator-in-training.

       37.     During the months of October and November 2017, Plaintiff conducted

interviews of the complaining party and witnesses regarding the Clark Complaint. During the

course of this investigation, witnesses disclosed to Plaintiff additional incidents of discrimination

and retaliation that had occurred, many of which had not been reported or properly investigated

pursuant to Newman’s policy and procedures.

       38.     On October 18, 2017, Plaintiff met with Dean Fr. Gile to discuss department

issues, including inequities of faculty pay and Plaintiff’s outstanding overload pay. Fr. Gile




                                                 6
       Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 7 of 25




“tabled” the conversation and agreed to schedule a meeting with Defendant Long and Plaintiff

regarding the issues.

       39.     From October 18 – 23, 2017, Plaintiff corresponded with Fr. Gile to follow up

with the pay inequity and overload pay issues.

       40.     On October 28, 2017, members of the Newman baseball team hosted an off-

campus Halloween party that many Newman students and athletes attended. Alcohol and drugs

were present at the party, and early the next morning, a young woman who had attended the

party and was found deceased in her vehicle.

       41.     Following the report of this untimely death, Newman officials controlled all

aspects of the investigation into this death.

       42.     On November 3, 2017, Plaintiff met with Fr. Gile to discuss BSW

implementation, budget access, BSW faculty hiring, pay and salary inequity issues. Fr. Gile

again “tabled” the issues to take them to Long. When Plaintiff expressed his concerns about

retaliatory treatment at Newman, Fr. Gile became angry, accused him of “fishing for

information” and ended the meeting.

       43.     On November 6, 2017, Plaintiff learned that his supervisors had left private,

sensitive and confidential personnel documents and emails about Plaintiff between Fr. Gile and

Long and two other administrators in public view, near the third-floor printer in McNeill Hall.

These personal and confidential documents were spread out and intermingled with other

printouts and had been left in public view of faculty, staff and students for several days.

       44.     On November 7, 2017, Plaintiff complained to Human Resources that he was

being subjected to a hostile work environment and retaliation since he had been assigned the

investigation of the Clark Complaint about Trilli, the basketball coaches and the student.




                                                 7
       Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 8 of 25




       45.     On November 13, 2017, as he was investigating the Clark Title IX Complaint,

Plaintiff became concerned about retaliation from Trilli toward the Dean of Students, who had

been assigned as the Complainant’s supervisor as an interim measure in the Clark Complaint,

and encouraged him to protect his rights.

       46.     On November 13, 2017, a recording from an anonymous person was slid under

the locked door to Plaintiff’s office.

       47.     On November 14 and 15, 2017, Plaintiff interviewed Trilli for the Clark

Complaint.

       48.     On November 14, 2017, Dean Esses filed a Title IX complaint against Trilli for

retaliation. (“Esses Complaint”). Plaintiff was assigned to investigate the Esses Complaint.

       49.     Between November 15 and December 1, 2017, Plaintiff continued to conduct

interviews of witnesses for the Clark Complaint.

       50.     On or about November 16, 2017, two more complaints alleging sexual harassment

and retaliation against other employees were filed by a student employee. (“Student

Complaints”). The complaining party reported that she was being retaliated against for speaking

with Plaintiff and repeatedly questioned about the information she shared with him in the

confidential investigation.

       51.     On or about November 16, 2017, during the course of his investigation, Plaintiff

discovered that Trilli was hiding knives in his office safe that he had confiscated from a prior

harassment and assault complaint involving student athletes.

       52.     On November 20, 2017, Trilli admitted that he confiscated the knives before

police could talk to the perpetrator.

       53.     Plaintiff met with a Newman Board of Trustees member, Sister Vicki Bergkamp,




                                                8
       Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 9 of 25




on November 21, 2017 with respect to his concerns of retaliation and interference by Newman

administrators.

       54.        Sometime after 6:00 pm on November 21, 2017 and before 8:00 am on November

22, 2017, an unauthorized entry into Plaintiff’s office was made and evidence related to the

investigation was stolen from his office. The anonymous recording and evidence relating to the

sexual discrimination and retaliation investigations had been removed from his office during the

break-in. Plaintiff immediately reported the unauthorized entry and theft to Newman’s Director

of Security.

       55.        On November 21 and 22, 2017, Plaintiff was unable to log into his Newman email

account and he learned that his password had been       administratively    “reset”     without   his

knowledge.

       56.        Newman officials had knowledge on November 27, 2017 that Plaintiff’s office

had been entered and that a CD and other file materials had been stolen from his office.

       57.        On November 27, 2017, Plaintiff had a telephone conversation with Board

President Teresa Hall-Bartels during which he provided her with a synopsis of each of the four

open Title IX investigations (the Clark Complaint, the Esses Complaint and the Student

Complaints), information about the harassment and assault matter involving the knives stored by

Trilli on campus, information about retaliation against witnesses interviewed for the Clark

Complaint, interference and confidentiality breaches in the Title IX investigations by

administrators at Newman, and threats from the Athletic Department that “snitches end up in

ditches with stitches.” Hall-Bartels stated to Plaintiff that he was to “find the truth.”

       58.        On November 27, 2017, after interviewing a Title IX witness, Plaintiff contacted

the homicide detective at the Wichita Police Department with respect to the criminal




                                                  9
      Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 10 of 25




investigation into the young woman’s untimely tragic death. He reported that he knew of a

witness to the events that evening and that in the interest of the timeline of the events, he wanted

to make the detective aware. Plaintiff also shared with the detective that students were afraid to

come forward with information about the untimely death.

       59.     On November 28, 2017, during an interview with Clark Schafter, Plaintiff learned

that President Carrocci had approved an article in the Newman University magazine prominently

featuring the student employee alleged to have made threats in the Clark Complaint.

       60.      On November 28, 2017, Plaintiff’s network password was again reset and a “new

policy” related to securing employee email was created by Defendant Long and the CIO, Icer

Vaughn.

       61.     On November 29, 2017, Plaintiff had a telephone conversation with Board

President Hall-Bartels in which he shared his concerns regarding the security of Newman’s

network and preservation of electronic data and video evidence.

       62.     On December 1, 2017, Plaintiff interviewed another witness to the Clark

Complaint, who disclosed that certain administrators and coaches, including those accused of

wrongdoing, had been conducting their own independent investigations into sexual harassment

and discrimination complaints, concealing evidence and intimidating witnesses.

       63.     On December 1, 2017, while Plaintiff was waiting to interview another witness

for the Clark Complaint, who was a no-show, a file containing personal items, typed reports and

documents was removed from behind a file cabinet in his office. Plaintiff reported the

unauthorized entry and theft of this file to Newman’s Director of Security on December 2, 2017.

The Director of Security stated nothing had been reported to him or turned in.

       64.     After the no-show on December 1, 2017, Plaintiff learned that the Newman Board




                                                10
      Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 11 of 25




of Trustees and Executive Committee had removed him as the investigator into the Title IX

complaints and from the Title IX task force, and had retained the Lewis, Brisbois, Bisgaard &

Smith, LLP law firm to conduct an independent investigation into the ongoing Title IX matters.

       65.      Plaintiff spoke with Hall-Bartels again on December 4, 2017 with respect to the

contradictions Newman was facing as a college founded to educate and empower women to

transform society, and Hall-Bartels encouraged Plaintiff to use the Whistleblower policy to voice

his concerns.

       66.      On December 11, 2017, Plaintiff met with attorneys from Lewis and Brisbois

regarding the investigations.

       67.      On December 12, 2017, Plaintiff learned that the file stolen from his office on

December 1, 2017 was found outside the library in the Dugan Conference Center by another

employee of Newman on the morning of December 4, 2017, and that it had been provided to

Gantz and Carrocci. When Plaintiff asked Carrocci and Gantz if they had possession of the

materials stolen from his office, they denied having possession of the file.

       68.      On December 12, 2017, Plaintiff then learned from the Director of Security that

Carrocci and Gantz had instructed the Director to lie about his possession of the file stolen from

his office, that the stolen file had been found on December 4, 2017, and that Newman Board

Member Fr. Tom Welk had instructed Security not to give Plaintiff his personal items that had

been stolen from his office.

       69.      While working at Newman on January 4, 2018, Plaintiff became aware that his

position at Newman had been posted to the University’s employment website and listed as

“open.” Plaintiff sent an email asking for clarification to Defendant Long, the Provost and Vice

President of Academic Affairs.




                                                11
      Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 12 of 25




       70.     At 3:50 pm on January 4, 2018, Long responded to Plaintiff and stated in an email

that he was “… no longer an active member of the teaching faculty.”

       71.     At approximately 4:15pm on January 4, 2018, Plaintiff received correspondence

at his Newman email account from Alan Rupe and Jeremy Schrag at Lewis, Brisbois, Bisgaard

& Smith, LLP, notifying him that he would not have any teaching duties for the spring semester,

that his employment would not be renewed, effectively terminating his employment with

Newman. The correspondence also stated that he was not to come on campus and that he was not

to have contact with faculty, staff or students.

       72.     Immediately following Defendant Long’s email to Plaintiff on January 4, 2018,

Long proceeded to hold multiple impromptu meetings with faculty and staff in each of

Newman’s academic buildings on campus. During these meetings, Long stated to faculty and

staff that Plaintiff was an “active security threat” and instructed that anyone who saw Plaintiff on

campus was to immediately call the police.

       73.     Long also stated to employees and staff at Newman that she “was not in a position

to evaluate [Plaintiff’s] mental and emotional state but that there were people at the university

that were qualified to do that assessment” and that “they determined that [Plaintiff] was a risk,”

so she was “acting on their assessment.”

       74.     Not long after her systematic spreading of false information about Plaintiff, a staff

member was heard saying they would be “sitting ducks” if Plaintiff came on campus with a gun.

       75.     Between January 4, 2018 and January 10, 2018, Long continued to disseminate

information to Newman employees that Plaintiff was an active security threat.

       76.     Additionally, Newman University officials placed “mug shot” pictures of Plaintiff

around the Newman campus with instructions to contact the police if he was seen on campus.




                                                   12
      Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 13 of 25




       77.     Between January 4, 2018 and January 10, 2018, the Newman campus was placed

on heightened security lock-down.

       78.     On January 7, 2018, Newman cancelled its January 8, 2018 Winter Institute due

to concerns by faculty and staff that Plaintiff posed a threat to them.

       79.     On or about January 9, 2018, President Carrocci told a group of Newman

employees that Plaintiff had never been a security threat and that the accusation was false.

       80.     On January 10, 2018, Newman boxed and delivered Plaintiff’s personal office

belongings to his home, and included with the delivery confidential Newman student files.

       81.     On January 19, 2018, Plaintiff appealed his termination following his removal

from the Title IX investigations after raising concerns about the behavior of Newman’s

leadership and Newman’s compliance with the law and Title IX, and sought relief from the false,

defamatory and malicious statements made by Defendant Long.

       82.     On or about February 13, 2018, Alan Rupe of the Lewis Brisbois law firm,

counsel for Newman, responded that Plaintiff’s allegations did not warrant a reply.

       83.     Plaintiff continued to pursue the appeal of his termination with Newman but was

denied the ability to do so.

       84.     On or about May 14, 2018, Plaintiff received correspondence from Newman

University notifying him of his termination, effective May 31, 2018.

       85.     Plaintiff was subjected to retaliation as a consequence of his participation and

opposition to discrimination and retaliation at Newman.

       86.     Plaintiff’s employment was terminated in retaliation for his participation and

opposition to discrimination and retaliation at Newman.

       87.     Plaintiff was terminated in retaliation for his participation in and opposition to the




                                                 13
      Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 14 of 25




discrimination and retaliation of individuals by Newman University’s officers, employees and

students.

       88.     Plaintiff openly opposed, resisted and confronted the discriminatory and

retaliatory conduct.

       89.     Plaintiff was forced to step outside his role as the investigator to actively assist

and support other employees in asserting their rights to be free from sexual harassment,

discrimination and retaliation.

       90.     The statements made and published by Long damaged his reputation and caused

him damage.

       91.     Plaintiff was subjected to discrimination based on a perceived disability that he

had a mental impairment.

       92.     Since his termination, Plaintiff has not been able to find comparable employment

and has suffered lost wages, income and benefits.

       93.     Plaintiff has suffered, and continues to suffer great pain of mind and body, shock,

emotional distress, physical manifestations of emotional distress, embarrassment, loss of

self-esteem, disgrace, humiliation, depression, and loss of enjoyment of life; has suffered and

continues to suffer damage to his reputation, with attendant emotional distress, embarrassment,

disgrace, humiliation, loss of enjoyment of life, and impairment of his career prospects; was

prevented and will continue to be prevented from performing daily activities and obtaining the

full enjoyment of life; has sustained loss of earnings and earning capacity; has incurred and will

continue to incur expenses for medical and psychological treatment, as well as other economic

hardships; and attorneys fees and costs.




                                                14
       Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 15 of 25




                                           COUNT I
                            (Liability under Title IX for Retaliation)
                                      (Defendant Newman)

        94.     Plaintiff incorporates the above paragraphs in the Background Facts as if fully set

forth herein.

        95.     Title IX of the Education Amendments of 1972 (Title IX), 20 U.S.C. § 1681 and

its implementing regulation 34 C.F.R Part 106 prohibit discrimination based on sex and prohibit

retaliation against any individual who has made a complaint, testified, or participated in any

manner in an investigation into alleged noncompliance with Title IX. See 34 C.F.R. § 100.7(e).

        96.     Employees of federally funded educational institutions who raise complaints, or

participate in investigations, concerning compliance with the substantive provisions of Title IX

are protected from retaliation by 34 C.F.R. § 100.7(e) and enjoy an implied private right of

action for money damages to vindicate their rights.

        97.     Plaintiff has a federal statutory right under Title IX to be free from retaliatory

action for protected participation or opposition under Title IX in a federally funded educational

facility.

        98.     Plaintiff was entitled to raise complaints concerning noncompliance with Title IX,

to oppose discrimination and retaliation, and to participate in investigations concerning the

alleged violations of Title IX and likewise was entitled to the protection against retaliation.

        99.     Defendant Newman had actual and/or constructive knowledge and notice of the

sexual harassment or discrimination complaints alleged herein.

        100.    Defendant Newman, through its employees and agents, ignored or disregarded

Title IX’s mandate for equal educational opportunities.

        101.    Plaintiff engaged in a protected activity under Title IX when he participated in the




                                                 15
      Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 16 of 25




investigations and opposed interference by Newman administrators and encouraged others to

assert and protect their rights.

        102.    After receiving reports of the alleged discrimination, harassment and retaliation,

Defendant Newman, by and through its employees and agents, retaliated against Plaintiff for

opposing discrimination and retaliation at Newman and for participating in the investigations.

        103.    Plaintiff suffered adverse actions as a result of his protected activity when

Defendant took away significant duties and responsibilities, and ultimately terminated him.

        104.    Defendant Newman, through its employees and agents, demonstrated deliberate

indifference to Title IX’s mandates for equal educational opportunities and anti-retaliation for

protected activity.

        105.    The aforesaid occurrences were the direct and proximate result of the negligence

and carelessness of Defendant Newman and its employees and agents while acting within the

scope and course of their employment.

        106.    As a direct and proximate result of the Defendant’s wrongful conduct, Plaintiff

has suffered and continues to suffer great pain of mind and body, shock, emotional distress,

physical manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace,

humiliation, loss of enjoyment of life, and attorneys fees and costs.

        107.    As a direct and proximate result of the Defendant’s wrongful conduct, Plaintiff

has sustained or will sustain expenses for medical and psychological treatment, as well as other

economic hardships.

        108.    As a direct and proximate result of the Defendant’s wrongful conduct, Plaintiff

has sustained or will sustain damages for lost pay and benefits in an amount commensurate with

her compensation at Newman.




                                                16
      Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 17 of 25




       109.     Defendant’s indifference and resulting action was wanton, willful and with

reckless disregard and neglect of Plaintiff’s rights, safety and well being, justifying the

imposition of punitive damages.

                                          COUNT II
                          (Retaliatory Discharge for Whistleblowing)
                                     (Defendant Newman)

       110.     Plaintiff incorporates the above paragraphs in the Background Facts as if fully set

forth herein.

       111.     Public policy requires that citizens in a democracy be protected from reprisals for

performing their civil duty of reporting infractions of rules, regulations, or the law pertaining to

public health, safety, and the general welfare.

       112.     As a licensed social worker in the State of Kansas, Plaintiff has an obligation to

report violations of the law to the Kansas Behavioral Sciences Regulatory Board (BSRB) as it

pertains to social workers.

       113.     Plaintiff reported what he reasonably believed to be infractions of rules,

regulations, or the law pertaining to public health, safety, and the general welfare to his

supervisor Fr. Gile in August and continuing into November 2017.

       114.     Plaintiff reported what he reasonably believed to be infractions of rules,

regulations, or the law pertaining to public health, safety, and the general welfare to the President

of Newman’s Board, Teresa Hall-Bartels in November and December 2017.

       115.     Plaintiff reported what he reasonably believed to be criminal theft at Newman to

the Director of Security on November 21, 2017 and again on December 2, 2017.

       116.     Plaintiff reported what he reasonably believed to be information about a material

witness and witness intimidation concerning the criminal investigation into the suspicious and




                                                  17
      Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 18 of 25




tragic untimely death of the young woman at the baseball party.

        117.    It is the public policy in the State of Kansas to encourage employees to report

theft and criminal activity.

        118.    A reasonably prudent person would conclude that the Newman officials identified

by Plaintiff were engaged in activities that violated rules, regulations, or the law pertaining to

public health and safety and the general welfare.

        119.    A reasonably prudent person would conclude that criminal theft or attempted theft

is a violation of the law.

        120.    Newman had knowledge that Plaintiff reported what he reasonably believed to be

activities that violated rules, regulations, or the law pertaining to public health and safety and the

general welfare prior to his discharge.

        121.    Plaintiff’s whistleblower reports were done in good faith based on concern

regarding the wrongful activity reported.

        122.    Plaintiff was discharged in retaliation for making his reports.

        123.    As a direct and proximate result of the Defendant’s wrongful conduct, Plaintiff

has suffered and continues to suffer great pain of mind and body, shock, emotional distress,

physical manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace,

humiliation, loss of enjoyment of life, and attorneys fees and costs.

        124.    As a direct and proximate result of the Defendant’s wrongful conduct, Plaintiff

has sustained or will sustain expenses for medical and psychological treatment as well as other

economic hardships.




                                                 18
      Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 19 of 25




       125.       As a direct and proximate result of the Defendant’s wrongful conduct, Plaintiff

has sustained or will sustain damages for lost pay and benefits in an amount commensurate with

his compensation at Newman.

                                           COUNT III
                                          (Defamation)
                                  (Defendants Newman and Long)

       126.       Plaintiff incorporates the above paragraphs in the Background Facts as if fully set

forth herein.

       127.       Defendant Long made publications in January 2018 to third parties, including the

false and misleading statements which are more fully set out in the Background Facts.

       128.       These publications contained false statements of fact that Plaintiff was a security

threat due to a mental and emotional assessment.

       129.       Defendant Long made these false statements with knowledge that they were

untrue or with reckless disregard for whether the statements were true or false.

       130.       Defendant’s statements to the Newman community and other third parties were

not privileged.

       131.       Defendant’s statements to the Newman community and other third parties were

not true, and were not opinions.

       132.       Defendant’s statements tended to expose Plaintiff to contempt and ridicule.

       133.       Defendant acted negligently with respect to these statements or made them with

actual malice.

       134.       As a result of Defendant’s defamatory statements, Plaintiff suffered damage to his

reputation.




                                                  19
      Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 20 of 25




        135.    As a result of Defendant’s defamatory statements, Plaintiff suffered actual

damages.

        136.    Defendant Long’s statements were made in the course and scope of her

employment with Defendant Newman.

        137.    Defendant Long’s conduct was done with the participation, ratification, authority

and consent of Defendant Newman.

        138.    Defendant Newman is vicariously liable for such statements.

        139.    Defendants’ actions were reckless, for which punitive damages are appropriate.

        140.    As a result of the above-described acts, Plaintiff has suffered, and continues to

suffer damage to his reputation, with attendant emotional distress, embarrassment, disgrace,

humiliation, and loss of enjoyment of life.

                                           COUNT IV
                                       (Invasion of Privacy)
                                  (Defendants Newman and Long)

        141.        Plaintiff incorporates the above paragraphs in the Background Facts as if fully

set forth herein.

        142.    Defendant Long made publications in January 2018 to third parties, including the

false and misleading statements suggesting Plaintiff was a security threat due to a mental and

emotional health assessment which are more fully set out in the Background Facts.

        143.    These publications placed Plaintiff in a false light before the Newman community

and public at large.

        144.    Defendant Long’s statements tended to expose Plaintiff to contempt and ridicule.

        145.    The publicity was highly offensive to Plaintiff as to a reasonable person.

        146.    Plaintiff’s perceived mental health is not of a legitimate concern to the public.




                                                  20
      Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 21 of 25




       147.     Defendant Long’s statements to the Newman community and other third parties

were not privileged.

       148.     Defendant Long’s statements to the Newman community and other third parties

were not true, and were not opinions.

       149.     Defendant Long’s statements were made in the course and scope of her

employment with Defendant Newman.

       150.     Defendant Long’s conduct was done with the participation, ratification, authority

and consent of Defendant Newman.

       151.     Defendant Newman is vicariously liable for such statements.

       152.     Defendants’ actions were reckless, for which punitive damages are appropriate.

       153.     As a result of the above-described acts, Plaintiff has suffered, and continues to

suffer damage to his reputation, with attendant emotional distress, embarrassment, disgrace,

humiliation, and loss of enjoyment of life.

                                           COUNT V
                           (Liability under Title VII for Retaliation)
                                      (Defendant Newman)

       154.     Plaintiff incorporates the above paragraphs in the Background Facts as if fully set

forth herein.

       155.     Title VII of the Civil Rights Act of 1964, as amended, 42 U.S.C. §2000(e) et seq,

prohibits discrimination based on sex and prohibits retaliation against any individual who has

made a complaint, testified, or participated in any manner in an investigation into alleged

noncompliance with Title VII.

       156.     Plaintiff has a federal statutory right under Title VII to be free from retaliatory

action for protected participation or opposition under Title VII.




                                                21
      Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 22 of 25




        157.    Plaintiff is protected under Title VII from retaliation for opposing sexual

harassment and retaliation of complainants and witnesses.

        158.    Plaintiff was entitled to raise complaints concerning noncompliance, to oppose

discrimination and retaliation, and to participate in investigations concerning the alleged

violations of Title VII and likewise was entitled to the protection against retaliation.

        159.    Defendant Newman had actual and/or constructive knowledge and notice of the

sexual harassment or discrimination complaints alleged herein.

        160.    Plaintiff engaged in a protected activity under Title IX when he participated in the

investigations and opposed interference by Newman administrators and encouraged others to

assert and protect their rights.

        161.    After receiving reports of the alleged discrimination, harassment and retaliation,

Defendant Newman, by and through its employees and agents, retaliated against Plaintiff for

opposing discrimination and retaliation at Newman and for participating in the investigations.

        162.    Plaintiff suffered adverse actions as a result of his protected activity when

Defendant took away significant duties and responsibilities, and ultimately terminated him.

        163.    The aforesaid occurrences were the direct and proximate result of the negligence

and carelessness of Defendant Newman and its employees and agents while acting within the

scope and course of their employment.

        164.    As a direct and proximate result of the Defendant’s wrongful conduct, Plaintiff

has suffered and continues to suffer great pain of mind and body, shock, emotional distress,

physical manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace,

humiliation, loss of enjoyment of life, and attorneys fees and costs.




                                                 22
      Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 23 of 25




       165.     As a direct and proximate result of the Defendant’s wrongful conduct, Plaintiff

has sustained or will sustain expenses for medical and psychological treatment, as well as other

economic hardships.

       166.     As a direct and proximate result of the Defendant’s wrongful conduct, Plaintiff

has sustained or will sustain damages for lost pay and benefits in an amount commensurate with

his compensation at Newman.

       167.     Defendant’s indifference and resulting action was wanton, willful and with

reckless disregard and neglect of Plaintiff’s rights, safety and well being, justifying the

imposition of punitive damages.

                                          COUNT VI
                     (Liability under the ADA/ADAAA for Discrimination)
                                     (Defendant Newman)

       168.     Plaintiff incorporates the above paragraphs in the Background Facts as if fully set

forth herein.

       169.     The Americans with Disabilities Act (“ADA”), as amended by the ADA

Amendments Act of 2008 (“ADAAA”) prohibits discrimination based on disability or perceived

disability against any individual in his employment.

       170.     Plaintiff has a federal statutory right under the ADAAA to be free from

discrimination based on a perceived disability.

       171.     Defendant regarded Plaintiff as having a mental impairment.

       172.     Plaintiff was terminated from his employment at Newman because Defendant

wrongly perceived him as having a mental impairment which created a threat to his colleagues

and students.




                                                  23
      Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 24 of 25




       173.    Plaintiff was able to perform the essential functions of his job at the time

Defendant terminated his services as an employee.

       174.    Plaintiff's perceived disability played a part in the defendant's decision to

terminate his employment.

       175.    Plaintiff suffered adverse action as a result of the perceived disability when

Defendant terminated him.

       176.    The aforesaid occurrences were the direct and proximate result of the negligence

and carelessness of Defendant Newman and its employees and agents while acting within the

scope and course of their employment.

       177.    As a direct and proximate result of the Defendant’s wrongful conduct, Plaintiff

has suffered and continues to suffer great pain of mind and body, shock, emotional distress,

physical manifestations of emotional distress, embarrassment, loss of self-esteem, disgrace,

humiliation, loss of enjoyment of life, and attorneys fees and costs.

       178.    As a direct and proximate result of the Defendant’s wrongful conduct, Plaintiff

has sustained or will sustain expenses for medical and psychological treatment, as well as other

economic hardships.

       179.    As a direct and proximate result of the Defendant’s wrongful conduct, Plaintiff

has sustained or will sustain damages for lost pay and benefits in an amount commensurate with

his compensation at Newman.

       180.    Defendant’s indifference and resulting action was wanton, willful and with

reckless disregard and neglect of Plaintiff’s rights, safety and well being, justifying the

imposition of punitive damages.




                                                24
      Case 2:19-cv-02005-DDC-TJJ Document 1 Filed 01/03/19 Page 25 of 25




                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that this Court conduct a jury trial on his claims, enter

judgment in his favor in an amount above the jurisdictional amount and against Defendants,

grant such declaratory and injunctive relief as is necessary and appropriate to remedy the wrongs

alleged herein; award Plaintiff actual damages, compensatory damages, punitive damages,

reasonable attorneys’ fees and expenses; and grant such other and further relief as the Court may

deem just and proper.

                                        JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable by law.


                           DESIGNATION OF PLACE OF TRIAL

       Plaintiff designates Kansas City, Kansas, as the place of trial for this matter.

                                              Respectfully submitted,

                                              BROWN & CURRY, LLC

                                              /s/Sarah A. Brown
                                              Sarah Brown, KS #12130
                                              Dan Curry, KS #22750
                                              Erin N. Vernon, KS#24590
                                              406 W. 34th Street, Suite 810
                                              Kansas City, MO 64111
                                              (816) 756-5458
                                              (816) 666-9596 (FAX)
                                              sarah@brownandcurry.com
                                              dan@brownandcurry.com

                                              ATTORNEYS FOR PLAINTIFF




                                                 25
